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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



 NUANCE COMMUNICATIONS, INC.,

                    Plaintiff,

        v.                                        Case No. 1:19-CV-11438-PBS
 OMILIA NATURAL LANGUAGE
 SOLUTIONS, LTD.,

                    Defendant



    NUANCE COMMUNICATIONS, INC.’S UNOPPOSED MOTION FOR
  EXTENSION OF TIME TO RESPOND TO DEFENDANT’S MOTION FOR
   SUMMARY JUDGMENT OF INVALIDITY UNDER 35 U.S.C. § 101 OF
                     U.S. PATENT 8,532,993

       Nuance Communications, Inc. (“Nuance”), by and through its counsel of record, and

pursuant to Federal Rule of Civil Procedure 6(b)(1)(A) and Local Rules 56.1 and 7.1 of the

Local Rules of the United States District Court for the District of Massachusetts, moves this

Court to extend Nuance’s time to respond to the Motion for Summary Judgment of

Invalidity Under 35 U.S.C. § 101 of U.S. Patent 8,532,993 (“Motion”) filed by Omilia

Natural Language Solutions, Ltd. (“Omilia”), through and including July 30, 2020. The

current deadline to respond is July 23, 2020. Omilia does not oppose this extension. Nuance

anticipates filing a response to Omilia’s Motion. In support of this unopposed motion,

Nuance further states as follows:

       1.      Omilia filed its Motion on Thursday, July 2, 2020.

       2.      Nuance’s response to the Motion is currently due on July 23, 2020, and has

not yet expired. Nuance anticipates filing a response to the Motion and has




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communicated the same to Omilia. Omilia has stated it does not oppose an extension of

Nuance’s time to respond to the Motion through and including July 30, 2020.

       3.      Nuance does not anticipate that the extension will have any impact on any other

aspects of the case management schedule.

       4.      This motion is made in good faith and not for the purpose of undue delay, but

rather to allow Nuance the extra time needed to properly investigate and respond to the Motion

and prepare its response.

       WHEREFORE, Nuance respectfully requests that the Court enter an order extending the

time for Nuance to respond to Omilia’s Motion through and including July 30, 2020.

Date: July 7, 2020                         Respectfully submitted,


                                           By: /s/ Christian E. Mammen
                                              Christian E. Mammen

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                     LOCAL RULE 7.1(a)(2) CERTIFICATION

       I hereby certify that the parties met and conferred on July 7, 2020, regarding this

motion. Omilia represented that it did not oppose this motion.


                                               /s/ Christian E. Mammen
                                               Christian E. Mammen


                            CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to

electronic service are being served on July 7, 2020, with a copy of this document via the

Court’s CM/ECF system per Local Rule CV-5.4 (c).

                                               /s/ Christian E. Mammen
                                               Christian E. Mammen




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